      Case 1:19-cv-02367-ABJ           Document 138-1         Filed 05/21/24      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                      )
PETER STRZOK,                                         )
                        Plaintiff,                    )
         v.                                           )
                                                      )
                                                                Civil Action No. 19-2367 (ABJ)
ATTORNEY GENERAL MERRICK GARLAND, )
in his official capacity as Attorney General, et al., )
                                                      )
                        Defendants.                   )
                                                      )
                                                      )
LISA PAGE,                                            )
                        Plaintiff,                    )
         v.                                           )
                                                      )         Civil Action No. 19-3675 (TSC)
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                        Defendants.                   )
                                                      )

DECLARATION OF KAITLIN KONKEL IN SUPPORT OF PLAINTIFF LISA PAGE’S
           MOTION TO SUPPLEMENT EXPERT DISCOVERY

       I, Kaitlin Konkel, hereby declare:

       1.      I am a counsel with Arnold & Porter Kaye Scholer LLP. I represent Plaintiff Lisa

Page in this case and have appeared on her behalf. This declaration is based on my personal

knowledge and on information that has become available to me in the course of this representation.

If called to testify, I could and would testify competently to the statements in this declaration.

       2.      This declaration is filed in support of Plaintiff Lisa Page’s Motion to Supplement

Expert Discovery. Exhibits A-E are attached to this declaration and described below.

       3.      Attached as Exhibit A is a true and correct copy of the November 5, 2021 report

of Ms. Page’s vocational expert, Anthony Bird. This report has been designated as “Confidential

Information” under the protective order, and no party has challenged that designation.
      Case 1:19-cv-02367-ABJ          Document 138-1         Filed 05/21/24    Page 2 of 3




       4.      Attached as Exhibit B is a true and correct copy of the November 9, 2021 report of

Ms. Page’s expert, Professor Danielle Citron of the University of Virginia School of Law.

Professor Citron teaches and writes about information privacy, free expression, and civil rights,

and her work has explored the nature of privacy harms and the proliferation of derogatory online

content, among other topics. This report has been designated as “Confidential Information” under

the protective order, and no party has challenged that designation.

       5.      Attached as Exhibit C is a true and correct copy of the September 7, 2022 updated

report of Defendants’ rebuttal expert, Laura Malowane. This report has been designated as

“Confidential Information” under the protective order, and no party has challenged that

designation.

       6.      Attached as Exhibit D is a true and correct copy of excerpts from the transcript of

the July 18, 2022 deposition of Anthony Bird, Ms. Page’s vocational expert. These portions of the

deposition transcript have been designated as “Confidential Information” under the protective

order, and no party has challenged those designations.

       7.      Attached as Exhibit E is a true and correct copy of Plaintiff Lisa Page’s

Supplemental Response to Defendants’ Interrogatory No. 6, as served on May 20, 2024. This

interrogatory response has been designated as “Confidential Information” under the protective

order, and no party has challenged that designation.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed on May 21, 2024                                 ______________________
                                                         Kaitlin Konkel



                                                 2
Case 1:19-cv-02367-ABJ     Document 138-1       Filed 05/21/24       Page 3 of 3




             Strzok v. Garland, Civil Action No. 19-2367 (ABJ)

          Page v. Dep’t of Justice, Civil Action No. 19-3675 (TSC)




                EXHIBITS A-E
                 FILED UNDER SEAL
